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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

 SCOTT SEKULICH and KRISTIN SEKULICH,

                              Plaintiffs,          Case No.

        v.
                                                   COMPLAINT FOR DAMAGES
 MONSANTO COMPANY,
                                                   JURY DEMAND
                              Defendant.

                                   COMPLAINT AT LAW

       NOW COMES Plaintiffs, Scott Sekulich and Kristin Sekulich, by and through their

attorneys, WISE MORRISSEY, LLC, and in their Complaint at Law against Defendant Monsanto

Company (hereinafter referred to as “Monsanto”), hereby state as follows:

                                       INTRODUCTION

       1.     In 1970, Defendant Monsanto discovered the herbicidal properties of glyphosate

and began marketing it in products in 1974 under the brand name Roundup®.

       2.     Since that time, Defendant Monsanto has marketed and sold Roundup®, its

formulations, and derivative products, including, but not limited to: Roundup Quick-Pro, Roundup

Concentrate Poison Ivy and Tough Brush Killer 1, Roundup Custom Herbicide, Roundup D-Pak

Herbicide, Roundup Dry Concentrate, Roundup Export Herbicide, Roundup Fence & Hard Edger

1, Roundup Garden Foam Weed & Grass Killer, Roundup Grass and Weed Killer, Roundup

Herbicide, Roundup Original 2k Herbicide, Roundup Original II Herbicide, Roundup Pro

Concentrate, Roundup Prodry Herbicide, Roundup Promax, Roundup Quik Stik Grass and Weed

Killer, Roundup Quikpro Herbicide, Roundup Rainfast Concentrate Weed & Grass Killer,

Roundup Rainfast Super Concentrate Weed & Grass Killer, Roundup Ready- to-Use Extended

Control Weed & Grass Killer 1 Plus Weed Preventer, Roundup Ready-to-Use Weed & Grass


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Killer, Roundup Ready-to-Use Weed and Grass Killer 2, Roundup Ultra Dry, Roundup Ultra

Herbicide, Roundup Ultramax, Roundup VM Herbicide, Roundup Weed & Grass Killer

Concentrate, Roundup Weed & Grass Killer Concentrate Plus, Roundup Weed & Grass Killer

Ready-to-Use Plus, Roundup Weed & Grass Killer Super Concentrate, Roundup Weed & Grass

Killer 1 Ready-to-Use, Roundup WSD Water Soluble Dry Herbicide Deploy Dry Herbicide, or

any other formulation of containing the active ingredient glyphosate, hereinafter referred to

collectively as, “Roundup®” and/or “Roundup.”

       3.     Roundup® is a non-selective herbicide used to kill weeds that commonly compete

with the growing of crops. By 2001, glyphosate had become the most-used active ingredient in

American agriculture with 85–90 millions of pounds used annually. That number grew to 185

million pounds by 2007. As of 2013, glyphosate was the world’s most widely used herbicide.

       4.     Defendant Monsanto is a multinational agricultural biotechnology corporation

based in St. Louis, Missouri. It is the world’s leading producer of glyphosate. As of 2009,

Defendant Monsanto was the world’s leading producer of seeds, accounting for 27% of the world

seed market. The majority of these seeds are of the Roundup Ready® brand. The stated advantage

of Roundup Ready® crops is that they substantially improve a farmer’s ability to control weeds,

since glyphosate can be sprayed in the fields during the growing season without harming their

crops. In 2010, an estimated 70% of corn and cotton, and 90% of soybean fields in the United

States were Roundup Ready®.

       5.     Defendant      Monsanto’s     glyphosate     products      and     glyphosate-

based formulations are registered in 130 countries and approved for use on over 100 different

crops. They are ubiquitous in the environment. Numerous studies confirm that glyphosate is found

in rivers, streams, and groundwater in agricultural areas where Roundup® is used. It has been



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found in food, in the urine of agricultural workers, and even in the urine of urban dwellers who are

not in direct contact with glyphosate.

       6.      On March 20, 2015, the International Agency for Research on Cancer (“IARC”),

an agency of the World Health Organization (“WHO”), issued an evaluation of several herbicides,

including glyphosate. That evaluation was based, in part, on studies of exposures to glyphosate in

several countries around the world and it has traced the health implications from exposure to

glyphosate since 2001.

       7.      On July 29, 2015, IARC issued the formal monograph relating to glyphosate. In

that monograph, the IARC Working Group provides a thorough review of the numerous studies

and data relating to glyphosate exposure in humans.

       8.      The IARC Working Group classified glyphosate as a Group 2A carcinogen, which

means that it is probably carcinogenic to humans. The IARC Working Group concluded that the

cancers most associated with glyphosate exposure are non-Hodgkin’s lymphoma and other

hematopoietic cancers, including lymphocytic lymphoma/chronic lymphocytic leukemia, B-cell

lymphoma, and multiple myeloma.

       9.      The IARC evaluation is significant. It confirms what has been believed for years:

that glyphosate is toxic to humans.

       10.     More likely than not, glyphosate causes non-Hodgkin’s lymphoma.

       11.     More likely than not, glyphosate-based formulations cause non-Hodgkin’s

lymphoma.

       12.     More likely than not, Roundup causes non-Hodgkin’s lymphoma.

       13.     Nevertheless, Defendant Monsanto, since it began selling Roundup®, has

represented it as safe to humans and the environment. Indeed, Defendant Monsanto has repeatedly



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proclaimed and continues to proclaim to the world, and particularly to United States consumers,

that glyphosate-based herbicides, including Roundup®, create no unreasonable risks to human

health or to the environment.

                                   JURISDICTION AND VENUE

        14.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.§

1332(a)(1) as the parties in this action are citizens of different states and the amount in controversy,

exclusive of interest and costs, exceeds $75,000.00.

        15.     The Northern District of Illinois has personal jurisdiction over Defendant Monsanto

because Defendant Monsanto is authorized to do business in Illinois and has sufficient minimum

contacts within this judicial district, or otherwise intentionally avails itself of this judicial district’s

market so as to render the exercise of jurisdiction over it by this court consistent with traditional

notions of fair play and substantial justice.

        16.     Defendant Monsanto’s minimum contacts within this judicial district are

sufficiently related to Plaintiff’s exposure, diagnosis, and claim in this matter to render personal

jurisdiction in this judicial district proper.

        17.     Venue is proper pursuant to 28 U.S.C. §1391(b)(2) because a substantial part of the

events or omissions giving rise to Plaintiff’s claim occurred in this judicial district/

        18.      Specifically, Plaintiff’s exposure to Defendant Monsanto’s Roundup® product and

resultant diagnosis with splenic non-Hodgkin's marginal zone lymphoma and later non-Hodgkin’s

diffuse large B-cell lymphoma.



                                            THE PARTIES

Plaintiffs



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        19.     Plaintiffs Scott Sekulich and Kristin Sekulich are currently citizens of the Village

of Oak Park, County of Cook, State of Illinois.

        20.      From 1991 to 1996, Plaintiff Scott Sekulich worked as a caddy on the Knollwood

Country Club golf course. Upon information and belief, he was exposed to Roundup® products

that were regularly used on the Knollwood Country Club golf course.

        21.     In approximately October of 2015, Plaintiff Scott Sekulich, was diagnosed with

Splenic Non-Hodgkin's Marginal Zone Lymphoma that subsequently transformed into Non-

Hodgkin's Diffuse Large B-Cell Lymphoma.

        22.     Plaintiff Kristin Sekulich is and at all times relevant to this complaint has been the

lawfully wedded wife of Scott Sekulich and suffered injuries including but not limited to, loss of

consortium.

Defendant

        23.     Defendant Monsanto Company, Inc. is a Delaware corporation, Illinois Secretary

of State ID No. 61261028, with its headquarters and principal place of business in St. Louis,

Missouri, authorized to do business in the State of Illinois that conducted significant business

within this judicial district at all times relevant herein.

        24.     At all times relevant to this complaint, Defendant Monsanto discovered the

herbicidal properties of glyphosate and was the manufacturer of Roundup®.

        25.     Defendant Monsanto has regularly transacted and conducted business within this

judicial district for years, and has derived substantial revenue from goods and products, including

Roundup®, used in this judicial district during that same time.




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          26.   Defendant Monsanto expected or should have expected their acts to have

consequences within the State of Illinois, and derived substantial revenue from interstate

commerce.

          27.   Upon information and belief, Defendant Monsanto did design, sell, advertise,

manufacture, and/or distribute Roundup® with full knowledge of its dangerous and defective

nature.

          28.   Upon information and belief, in committing the acts alleged herein, each and every

managing agent, agent, representative and/or employee of the Defendant was working within the

course and scope of said agency, representation and/or employment with the knowledge, consent,

ratification, and authorization of the Defendant and their directors, officers and/or managing

agents.

                            FACTS COMMON TO ALL COUNTS

          29.   Glyphosate is a broad-spectrum, non-selective herbicide used in a wide variety of

herbicidal products around the world.

          30.   Plants treated with glyphosate translocate the systemic herbicide to their roots,

shoot regions and fruit, where it interferes with the plant’s ability to form aromatic amino acids

necessary for protein synthesis. Treated plants generally die within two to three days. Because

plants absorb glyphosate, it cannot be completely removed by washing or peeling produce or by

milling, baking, or brewing grains.

          31.   For nearly 40 years, farms across the world have used Roundup® without knowing

of the dangers its use poses. That is because when Defendant Monsanto first introduced

Roundup®, it touted glyphosate as a technological breakthrough: it could kill almost every weed

without causing harm either to people or to the environment. Of course, history has shown that not



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to be true. According to the WHO, the main chemical ingredient of Roundup®—glyphosate—is a

probable cause of cancer. Defendant Monsanto assured the public that Roundup® was harmless.

In order to prove this, Defendant Monsanto championed falsified data and attacked legitimate

studies that revealed its dangers. Defendant Monsanto led a prolonged campaign of misinformation

to convince government agencies, farmers and the general population that Roundup® was safe.

The Discovery of Glyphosate and Development of Roundup®

       32.     The herbicidal properties of glyphosate were discovered in 1970 by Defendant

Monsanto chemist John Franz. The first glyphosate-based herbicide was introduced to the market

in the mid-1970s under the brand name Roundup®. From the outset, Defendant Monsanto

marketed Roundup® as a “safe” general-purpose herbicide for widespread commercial and

consumer use. It still markets Roundup® as safe today.

Registration of Herbicides under Federal Law

       33.     The manufacture, formulation, and distribution of herbicides, such as Roundup®,

are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA” or “Act”),

7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered with the Environmental

Protection Agency (“EPA” or “Agency”) prior to their distribution, sale, or use, except as

described by the Act. 7 U.S.C. § 136a(a)

       34.     Because pesticides are toxic to plants, animals, and humans, at least to some degree,

the EPA requires as part of the registration process, among other things, a variety of tests to

evaluate the potential for exposure to pesticides, toxicity to people and other potential non-target

organisms, and other adverse effects on the environment. Registration by the EPA, however, is not

an assurance or finding of safety. The determination the Agency must make in registering or re-

registering a product is not that the product is “safe,” but rather that use of the product in



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accordance with its label directions “will not generally cause unreasonable adverse effects on the

environment.” 7 U.S.C. § 136a(c)(5)(D).

       35.     FIFRA defines “unreasonable adverse effects on the environment” to mean “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus

requires EPA to make a risk/benefit analysis in determining whether a registration should be

granted or allowed to continue to be sold in commerce.

       36.     The EPA and the State of Illinois registered Roundup® for distribution, sale, and

manufacture in the United States and the State of Illinois.

       37.     FIFRA generally requires that the registrant, Defendant Monsanto in the case of

Roundup®, conducts the health and safety testing of pesticide products. The EPA has protocols

governing the conduct of tests required for registration and the laboratory practices that must be

followed in conducting these tests. The data produced by the registrant must be submitted to the

EPA for review and evaluation. The government is not required, nor is it able, however, to perform

the product tests that are required of the manufacturer.

       38.     The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a

pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a Congressionally- mandated process called “re-registration.” 7 U.S.C. § 136a-

1. In order to reevaluate these pesticides, the EPA is demanding the completion of additional tests

and the submission of data for the EPA’s review and evaluation.

       39.     In the case of glyphosate, and therefore Roundup®, the EPA had planned on

releasing its preliminary risk assessment —in relation to the reregistration process—no later than



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July 2015. The EPA completed its review of glyphosate in early 2015, but it delayed releasing the

risk assessment pending further review in light of the WHO’s health-related findings.

        Scientific Fraud Underlying the Marketing and Sale of Glyphosate/Roundup

       40.     Based on early studies that glyphosate could cause cancer in laboratory animals,

the EPA originally classified glyphosate as possibly carcinogenic to humans (Group C) in 1985.

After pressure from Defendant Monsanto, including contrary studies it provided to the EPA, the

EPA changed its classification to evidence of non- carcinogenicity in humans (Group E) in 1991.

In so classifying glyphosate, however, the EPA made clear that the designation did not mean the

chemical does not cause cancer: “It should be emphasized, however, that designation of an agent

in Group E is based on the available evidence at the time of evaluation and should not be

interpreted as a definitive conclusion that the agent will not be a carcinogen under any

circumstances.”

       41.     On two occasions, the EPA found that the laboratories hired by Defendant

Monsanto to test the toxicity of its Roundup® products for registration purposes committed fraud.

       42.     In the first instance, Defendant Monsanto, in seeking initial registration of

Roundup® by EPA, hired Industrial Bio-Test Laboratories (“IBT”) to perform and evaluate

pesticide toxicology studies relating to Roundup®. IBT performed about 30 tests on glyphosate

and glyphosate-based formulations, including nine of the 15 residue studies needed to register

Roundup®.

       43.     In 1976, the United States Food and Drug Administration (“FDA”) performed an

inspection of Industrial Bio-Test Industries (“IBT”) that revealed discrepancies between the raw

data and the final report relating to the toxicological impacts of glyphosate. The EPA subsequently

audited IBT; it too found the toxicology studies conducted for the Roundup® herbicide to be



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invalid. An EPA reviewer stated, after finding “routine falsification of data” at IBT, that it was

“hard to believe the scientific integrity of the studies when they said they took specimens of the

uterus from male rabbits.”

       44.     Three top executives of IBT were convicted of fraud in 1983.

       45.     In the second incident of data falsification, Defendant Monsanto hired Craven

Laboratories in 1991 to perform pesticide and herbicide studies, including for Roundup®. In that

same year, the owner of Craven Laboratories and three of its employees were indicted, and later

convicted, of fraudulent laboratory practices in the testing of pesticides and herbicides.

       46.     Despite the falsity of the tests that underlie its registration, within a few years of its

launch, Defendant Monsanto was marketing Roundup® in 115 countries.

    The Importance of Roundup® to Defendant Monsanto’s Market Dominance Profits

       47.     The success of Roundup® was key to Defendant Monsanto’s continued reputation

and dominance in the marketplace. Largely due to the success of Roundup® sales, Defendant

Monsanto’s agriculture division was out-performing its chemicals division’s operating income,

and that gap increased yearly. But with its patent for glyphosate expiring in the United States in

the year 2000, Defendant Monsanto needed a strategy to maintain its Roundup® market

dominance and to ward off impending competition.

       48.     In response, Defendant Monsanto began the development and sale of genetically

engineered Roundup Ready® seeds in 1996. Since Roundup Ready® crops are resistant to

glyphosate; farmers can spray Roundup® onto their fields during the growing season without

harming the crop. This allowed Defendant Monsanto to expand its market for Roundup® even

further; by 2000, Defendant Monsanto’s biotechnology seeds were planted on more than 80

million acres worldwide and nearly 70% of American soybeans were planted from Roundup



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Ready® seeds. It also secured Defendant Monsanto’s dominant share of the glyphosate/Roundup®

market through a marketing strategy that coupled proprietary Roundup Ready® seeds with

continued sales of its Roundup® herbicide.

       49.      Through a three-pronged strategy of increased production, decreased prices and by

coupling Roundup® with Roundup Ready® seeds, Roundup® became Defendant Monsanto’s

most profitable product. In 2000, Roundup® accounted for almost $2.8 billion in sales, outselling

other herbicides by a margin of five to one, and accounting for close to half of Defendant

Monsanto’s revenue. Today, glyphosate remains one of the world’s largest herbicides by sales

volume.

     Defendant Monsanto has known for decades that it falsely advertises the safety of
                                    Roundup®
       50.      In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against

Defendant Monsanto based on its false and misleading advertising of Roundup ® products.

Specifically, the lawsuit challenged Defendant Monsanto’s general representations that its spray-

on glyphosate-based herbicides, including Roundup®, were “safer than table salt” and “practically

non-toxic” to mammals, birds, and fish. Among the representations the NYAG found deceptive

and misleading about the human and environmental safety of Roundup® are the following:

             a. Remember that environmentally friendly Roundup herbicide is biodegradable. It
                won’t build up in the soil so you can use Roundup with confidence along
                customers’ driveways, sidewalks and fences …
             b. And remember that Roundup is biodegradable and won’t build up in the soil. That
                will give you the environmental confidence you need to use Roundup everywhere
                you’ve got a weed, brush, edging or trimming problem.
             c. Roundup biodegrades into naturally occurring elements.
             d. Remember that versatile Roundup herbicide stays where you put it. That means
                there’s no washing or leaching to harm customers’ shrubs or other desirable
                vegetation.
             e. This non-residual herbicide will not wash or leach in the soil. It stays where you
                apply it.
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             f. You can apply Accord with “confidence because it will stay where you put it” it
                bonds tightly to soil particles, preventing leaching. Then, soon after application,
                soil microorganisms biodegrade Accord into natural products.
             g. Glyphosate is less toxic to rats than table salt following acute oral ingestion.
             h. Glyphosate’s safety margin is much greater than required. It has over a 1,000-fold
                safety margin in food and over a 700-fold safety margin for workers who
                manufacture it or use it.
             i. You can feel good about using herbicides by Monsanto. They carry a toxicity
                category rating of ‘practically non-toxic’ as it pertains to mammals, birds and fish.
             j.    “Roundup can be used where kids and pets will play and breaks down into natural
                  material.” This ad depicts a person with his head in the ground and a pet dog
                  standing in an area which has been treated with Roundup.
       51.        On November 19, 1996, Defendant Monsanto entered into an Assurance of

Discontinuance with NYAG, in which Defendant Monsanto agreed, among other things, “to cease

and desist from publishing or broadcasting any advertisements [in New York] that represent,

directly or by implication” that:

             a. its glyphosate-based pesticide products or any component thereof are safe, non-
                toxic, harmless or free from risk.
             b. its glyphosate-based pesticide products or any component thereof manufactured,
                formulated, distributed or sold by Monsanto are biodegradable.
             c. its glyphosate-based pesticide products or any component thereof stay where they
                are applied under all circumstances and will not move through the environment by
                any means.
             d. its glyphosate-based pesticide products or any component thereof are “good” for
                the environment or are “known for their environmental characteristics.”
             e. glyphosate-based pesticide products or any component thereof are safer or less
                toxic than common consumer products other than herbicides;
             f. its glyphosate-based formulations or any component thereof might be classified as
                “practically non-toxic.”
       52.        Defendant Monsanto did not alter its advertising in the same manner in any state

other than New York, and on information and belief still has not done so today.

       53.        In 2009, France’s highest court ruled that Defendant Monsanto had not told the

truth about the safety of Roundup®. The French court affirmed an earlier judgement that

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Defendant Monsanto had falsely advertised its herbicide Roundup® as “biodegradable” and that

it “left the soil clean.”

                            Classifications and Assessments of Glyphosate

        54.      The IARC process for the classification of glyphosate followed the stringent

procedures for the evaluation of a chemical agent. Over time, the IARC Monograph program has

reviewed 980 agents. Of those reviewed, it has determined 116 agents to be Group 1 (Known

Human Carcinogens); 73 agents to be Group 2A (Probable Human Carcinogens); 287 agents to be

Group 2B (Possible Human Carcinogens); 503 agents to be Group 3 (Not Classified); and one

agent to be Probably Not Carcinogenic.

        55.      The established procedure for IARC Monograph evaluations is described in the

IARC Programme’s Preamble. Evaluations are performed by panels of international experts,

selected on the basis of their expertise and the absence of actual or apparent conflicts of interest.

        56.      One year before the Monograph meeting, the meeting is announced and there is a

call both for data and for experts. Eight months before the Monograph meeting, the Working Group

membership is selected and the sections of the Monograph are developed by the Working Group

members. One month prior to the Monograph meeting, the call for data is closed and the various

draft sections are distributed among Working Group members for review and comment. Finally,

at the Monograph meeting, the Working Group finalizes review of all literature, evaluates the

evidence in each category, and completes the overall evaluation. Within two weeks after the

Monograph meeting, the summary of the Working Group findings are published in Lancet

Oncology, and within a year after the meeting, the final Monograph is finalized and published.

        57.      In assessing an agent, the IARC Working Group reviews the following information:

(a) human, experimental, and mechanistic data; (b) all pertinent epidemiological studies and cancer



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bioassays; and (c) representative mechanistic data. The studies must be publicly available and have

sufficient detail for meaningful review, and reviewers cannot be associated with the underlying

study.

         58.     In March 2015, IARC reassessed glyphosate. The summary published in The

Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in

humans.

         59.     On July 29, 2015, IARC issued its Monograph for glyphosate, Monograph 112. For

Volume 112, the volume that assessed glyphosate, a Working Group of 17 experts from 11

countries met at IARC from March 3–10, 2015, to assess the carcinogenicity of certain herbicides,

including glyphosate. The March meeting culminated nearly a one-year review and preparation by

the IARC Secretariat and the Working Group, including a comprehensive review of the latest

available scientific evidence. According to published procedures, the Working Group considered

“reports that have been published or accepted for publication in the openly available scientific

literature” as well as “data from governmental reports that are publicly available.”

         60.     The studies considered the following exposure groups: occupational exposure of

farmers and tree nursery workers in the United States, forestry workers in Canada and Finland and

municipal weed-control workers in the United Kingdom; and para-occupational exposure in

farming families.

         61.     Glyphosate was identified as the second-most used household herbicide in the

United States for weed control between 2001 and 2007 and the most heavily used herbicide in the

world in 2012.




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        62.    Exposure pathways are identified as air (especially during spraying), water, and

food. Community exposure to glyphosate is widespread and found in soil, air, surface water, and

groundwater, as well as in food.

        63.    The assessment of the IARC Working Group identified several case control studies

of occupational exposure in the United States, Canada, and Sweden. These studies show a human

health concern from agricultural and other work-related exposure to glyphosate.

        64.    The IARC Working Group found an increased risk between exposure to glyphosate

and non-Hodgkin’s lymphoma (“NHL”) and several subtypes of NHL, and the increased risk

persisted after adjustment for other pesticides.

        65.    The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in human cells. One study in community residents reported increases in

blood markers of chromosomal damage (micronuclei) after glyphosate formulations were sprayed.

        66.    In male CD-1 mice, glyphosate induced a positive trend in the incidence of a rare

tumor, renal tubule carcinoma. A second study reported a positive trend for hemangiosarcoma in

male mice. Glyphosate increased pancreatic islet-cell adenoma in male rats in two studies. A

glyphosate formulation promoted skin tumors in an initiation-promotion study in mice.

        67.    The IARC Working Group also noted that glyphosate has been detected in the urine

of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to

aminomethylphosphoric acid (AMPA). Blood AMPA detection after exposure suggests intestinal

microbial metabolism in humans.

        68.    The IARC Working Group further found that glyphosate and glyphosate

formulations induced DNA and chromosomal damage in mammals, and in human and animal cells

in utero.



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       69.      The IARC Working Group also noted genotoxic, hormonal, and enzymatic effects

in mammals exposed to glyphosate. Essentially, glyphosate inhibits the biosynthesis of aromatic

amino acids, which leads to several metabolic disturbances, including the inhibition of protein and

secondary product biosynthesis and general metabolic disruption.

       70.      The IARC Working Group also reviewed an Agricultural Health Study, consisting

of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and North Carolina. While

this study differed from others in that it was based on a self- administered questionnaire, the results

support an association between glyphosate exposure and Multiple Myeloma, Hairy Cell Leukemia

(HCL), and Chronic Lymphocytic Leukemia (CLL), in addition to several other cancers.

             Other Earlier Findings about Glyphosate’s Dangers to Human Health

       71.      The EPA has a technical fact sheet, as part of its Drinking Water and Health,

National Primary Drinking Water Regulations publication, relating to glyphosate. This technical

fact sheet predates the IARC March 20, 2015, evaluation. The fact sheet describes the release

patterns for glyphosate as follows:

                                          Release Patterns

       Glyphosate is released to the environment in its use as an herbicide for controlling

       woody and herbaceous weeds on forestry, right-of-way, cropped and non-cropped

       sites. These sites may be around water and in wetlands. It may also be released to

       the environment during its manufacture, formulation, transport, storage, disposal

       and cleanup, and from spills. Since glyphosate is not a listed chemical in the Toxics

       Release Inventory, data on releases during its manufacture and handling are not

       available.




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       Occupational workers and home gardeners may be exposed to glyphosate by

       inhalation and dermal contact during spraying, mixing, and cleanup. They may also

       be exposed by touching soil and plants to which glyphosate was applied.

       Occupational exposure may also occur during glyphosate’s manufacture, transport

       storage, and disposal.

       In 1995, the Northwest Coalition for Alternatives to Pesticides reported that in

       California, the state with the most comprehensive program for reporting of

       pesticide-caused illness, glyphosate was the third most commonly-reported cause

       of pesticide illness among agricultural workers.

                      Recent Worldwide Bans on Roundup®/Glyphosate

       72.     Several countries around the world have instituted bans on the sale of Roundup®

and other glyphosate-based herbicides, both before and since IARC first announced its assessment

for glyphosate in March 2015, and more countries undoubtedly will follow suit in light of the as

the dangers of the use of Roundup® are more widely known.

       73.     The Netherlands issued a ban on all glyphosate-based herbicides in April 2014,

including Roundup®, which takes effect by the end of 2015. In issuing the ban, the Dutch

Parliament member who introduced the successful legislation stated: “Agricultural pesticides in

user-friendly packaging are sold in abundance to private persons. In garden centers, Roundup® is

promoted as harmless, but unsuspecting customers have no idea what the risks of this product are.

Especially children are sensitive to toxic substances and should therefore not be exposed to it.”

       74.     The Brazilian Public Prosecutor in the Federal District requested that the Brazilian

Justice Department suspend the use of glyphosate.




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       75.     France banned the private sale of Roundup® and glyphosate following the IARC

assessment for Glyphosate.

       76.     Bermuda banned both the private and commercial sale of glyphosates, including

Roundup®. The Bermuda government explained its ban as follows: “Following a recent scientific

study carried out by a leading cancer agency, the importation of weed spray ‘Roundup’ has been

suspended.”

       77.     The Sri Lankan government banned the private and commercial use of glyphosates,

particularly out of concern that glyphosate has been linked to fatal kidney disease in agricultural

workers.

       78.     The government of Columbia announced its ban on using Roundup® and

glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine, because of the

WHO’s finding that glyphosate is probably carcinogenic.

                            Scott Sekulich’s Exposure to Roundup®

       79.     Scott Sekulich worked as a caddy on the Knollwood Country Club golf course in

Lake Forest, Illinois from 1991 to 1996.

       80.     Upon information and belief, Roundup® was regularly used on the Knollwood

Country Club golf course between 1991 and 1996.

       81.     As a result of his exposure to Roundup products, Scott Sekulich was diagnosed

with splenic non-Hodgkin's marginal zone lymphoma in October of 2015, and was later diagnosed

with non-Hodgkin’s diffuse large B-cell lymphoma.

                                        COUNT I
                          STRICT LIABILITY (DESIGN DEFECT)
                                   (Scott v. Monsanto)
       82.     Plaintiffs incorporates by reference each and every allegation set forth in

paragraphs 1 through 81 as if fully stated herein.

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         83.   At all times relevant to this litigation, Defendant Monsanto engaged in the business

of testing, developing, designing, manufacturing, marketing, selling, distributing, and promoting

Roundup® products which are defective and unreasonably dangerous to consumers, users, and

persons coming into contact with said products, including Scott Sekulich, thereby placing

Roundup® products into the stream of commerce. These actions were under the ultimate control

and supervision of Defendant Monsanto.

         84.   At all times relevant to this litigation, Defendant Monsanto designed, researched,

developed, manufactured, produced, tested, assembled, labeled, advertised, promoted, marketed,

sold, and distributed the Roundup® products to which Scott Sekulich was exposed, as described

above.

         85.   At the time Defendant Monsanto’s Roundup products left its control, it was

unsafe, defective, and unreasonably dangerous for use by or exposure to the public, and, in

particular, Scott Sekulich, when used in the intended or reasonable foreseeable manner because it

has a carcinogenic glyphosate-based formulation.

         86.   Defendant Monsanto’s Roundup® products were expected to and did reach the

usual consumers, users, handlers, and persons coming into contact with said product, including

Scott Sekulich, without substantial change in the condition which it was designed, manufactured,

sold, distributed, labeled, and marketed by Defendant.

         87.   Defendant Monsanto’s Roundup® products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by Defendant

Monsanto were defective in design and formulation in that when they left the hands of the

Defendant Monsanto’s manufacturers and/or suppliers, they were unreasonably dangerous and

dangerous to an extent beyond that which an ordinary consumer would contemplate.



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       88.      Defendant Monsanto’s Roundup® products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by Defendant

Monsanto were defective in design and formulation in that when they left the hands of Defendant

Monsanto’s manufacturers and/or suppliers, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

       89.      At all times relevant to this action, Defendant Monsanto knew or had reason to

know that its Roundup® products were defective and were inherently dangerous and unsafe when

used in the manner instructed and provided by Defendant Monsanto, and suppressed this

knowledge from the general public.

       90.      Therefore, at all times relevant to this litigation, Defendant Monsanto’s Roundup®

products, as researched, tested, developed, designed, licensed, manufactured, packaged, labeled,

distributed, sold    and   marketed    by Defendant Monsanto were defective in design and

formulation, in one or more of the following ways:

             a. When placed in the stream of commerce, Defendant Monsanto’s Roundup®
                products were defective in design and formulation, and, consequently, dangerous
                to an extent beyond that which an ordinary consumer would contemplate;
             b. When placed in the stream of commerce, Defendant Monsanto’s Roundup®
                products were unreasonably dangerous in that they were hazardous and posed a
                grave risk of cancer and other serious illnesses when used in a reasonably
                anticipated manner;
             c. When placed in the stream of commerce, Defendant Monsanto’s Roundup®
                products contained unreasonably dangerous design defects and were not reasonably
                safe when used in a reasonably anticipated or intended manner;
             d. Defendant Monsanto did not sufficiently test, investigate, or study its Roundup®
                products and, specifically, the active ingredient glyphosate;
             e. Exposure to Roundup® and glyphosate-based formulations presents a risk of
                harmful side effects including without limitation causing non-Hodgkin’s
                lymphoma, that outweigh any potential utility stemming from the use of the
                herbicide;



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             f. Defendant Monsanto knew or should have known at the time of marketing its
                Roundup® products that exposure to Roundup® and specifically, its active
                ingredient glyphosate, could result in cancer and other severe illnesses and injuries;
             g. Defendant Monsanto did not conduct adequate post-marketing surveillance of its
                Roundup® products; and/or
             h. Defendant Monsanto could have employed safer alternative designs and
                formulations.
       91.      At all times relevant to this litigation, Scott Sekulich was exposed to the use of

Defendant Monsanto’s Roundup® products in an intended and reasonably foreseeable manner

without knowledge of their dangerous characteristics.

       92.      Scott Sekulich could not have reasonably discovered or perceived the defects and

risks of Roundup® products herein mentioned before or at the time of exposure.

       93.      The harm caused by Defendant Monsanto’s Roundup® products, (i.e. non-

Hodgkin’s lymphoma), far outweighed their benefit, getting rid of weeds, rendering Defendant

Monsanto’s products dangerous to an extent beyond that which an ordinary consumer would

contemplate.

       94.      Defendant Monsanto’s Roundup® products were and are more dangerous

than alternative products and Defendant Monsanto could have designed its Roundup® products to

make them less dangerous. Indeed, at the time that Defendant Monsanto designed its Roundup®

products, the state of the industry’s scientific knowledge was such that a less risky design or

formulation was attainable.

       95.      At the time Roundup® products left Defendant Monsanto’s control, there was a

practical, technically feasible and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendant

Monsanto’s herbicides.




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       96.     Scott Sekulich developed non-Hodgkin’s lymphoma which caused him inter alia

pain, suffering, disability, disfigurement, and loss of normal life as a result of using Monsanto’s

Roundup® products.

       97.     The defects in Defendant Monsanto’s Roundup® products were substantial and

contributing factors in causing Scott Sekulich’s grave and permanent injuries, including his non-

Hodgkin’s lymphoma, and, but for Defendant Monsanto’s misconduct and omissions, Scott

Sekulich would not have sustained his injuries.

       98.     Therefore, as a result of the unreasonably dangerous condition of its Roundup®

products, Defendant Monsanto is strictly liable to Scott Sekulich.

       99.     As a direct proximate result of Defendant Monsanto’s wrongful acts and omissions,

Scott Sekulich has suffered and continues to suffer pecuniary loss including without limitation

injuries of a personal and pecuniary nature including, but not limited to hospital, medical, and

related expenses; loss of income; disability and disfigurement; loss of normal life; pain and

suffering; risk of susceptibility and future injury and relapse; and physical and emotional trauma.

       WHEREFORE, plaintiff, Scott Sekulich, asks that a judgment be entered against the

defendant, Monsanto Company, Inc., in a fair and just amount in excess of SEVENTY-FIVE

THOUSAND DOLLARS ($75,000.00) plus costs and any further relief this court deems just.

                                  COUNT II
          STRICT LIABILITY (DESIGN DEFECT) – LOSS OF CONSORTIUM
                             (Kristin v. Monsanto)
       100.    Plaintiffs incorporates by reference each and every allegation set forth in

paragraphs 1 through 81 as if fully stated herein.

       101.    At all times relevant to this litigation, Defendant Monsanto engaged in the business

of testing, developing, designing, manufacturing, marketing, selling, distributing, and promoting

Roundup® products which are defective and unreasonably dangerous to consumers, users, and

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persons coming into contact with said products, including Scott Sekulich, thereby placing

Roundup® products into the stream of commerce. These actions were under the ultimate control

and supervision of Defendant Monsanto.

         102.   At all times relevant to this litigation, Defendant Monsanto designed, researched,

developed, manufactured, produced, tested, assembled, labeled, advertised, promoted, marketed,

sold, and distributed the Roundup® products to which Scott Sekulich was exposed, as described

above.

         103.   At the time Defendant Monsanto’s Roundup products left its control, it was

unsafe, defective, and unreasonably dangerous for use by or exposure to the public, and, in

particular, Scott Sekulich, when used in the intended or reasonable foreseeable manner because it

has a carcinogenic glyphosate-based formulation.

         104.   Defendant Monsanto’s Roundup® products were expected to and did reach the

usual consumers, users, handlers, and persons coming into contact with said product, including

Scott Sekulich, without substantial change in the condition which it was designed, manufactured,

sold, distributed, labeled, and marketed by Defendant.

         105.   Defendant Monsanto’s Roundup® products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by Defendant

Monsanto were defective in design and formulation in that when they left the hands of the

Defendant Monsanto’s manufacturers and/or suppliers, they were unreasonably dangerous and

dangerous to an extent beyond that which an ordinary consumer would contemplate.

         106.   Defendant Monsanto’s Roundup® products, as researched, tested, developed,

designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by Defendant

Monsanto were defective in design and formulation in that when they left the hands of Defendant



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Monsanto’s manufacturers and/or suppliers, the foreseeable risks exceeded the alleged benefits

associated with their design and formulation.

       107.    At all times relevant to this action, Defendant Monsanto knew or had reason to

know that its Roundup® products were defective and were inherently dangerous and unsafe when

used in the manner instructed and provided by Defendant Monsanto, and suppressed this

knowledge from the general public.

       108.    Therefore, at all times relevant to this litigation, Defendant Monsanto’s Roundup®

products, as researched, tested, developed, designed, licensed, manufactured, packaged, labeled,

distributed, sold   and   marketed     by Defendant Monsanto were defective in design and

formulation, in one or more of the following ways:

           a. When placed in the stream of commerce, Defendant Monsanto’s Roundup®
              products were defective in design and formulation, and, consequently, dangerous
              to an extent beyond that which an ordinary consumer would contemplate;
           b. When placed in the stream of commerce, Defendant Monsanto’s Roundup®
              products were unreasonably dangerous in that they were hazardous and posed a
              grave risk of cancer and other serious illnesses when used in a reasonably
              anticipated manner;
           c. When placed in the stream of commerce, Defendant Monsanto’s Roundup®
              products contained unreasonably dangerous design defects and were not reasonably
              safe when used in a reasonably anticipated or intended manner;
           d. Defendant Monsanto did not sufficiently test, investigate, or study its Roundup®
              products and, specifically, the active ingredient glyphosate;
           e. Exposure to Roundup® and glyphosate-based formulations presents a risk of
              harmful side effects including without limitation causing non-Hodgkin’s
              lymphoma, that outweigh any potential utility stemming from the use of the
              herbicide;
           f. Defendant Monsanto knew or should have known at the time of marketing its
              Roundup® products that exposure to Roundup® and specifically, its active
              ingredient glyphosate, could result in cancer and other severe illnesses and injuries;
           g. Defendant Monsanto did not conduct adequate post-marketing surveillance of its
              Roundup® products; and/or



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           h. Defendant Monsanto could have employed safer alternative designs and
              formulations.
       109.    At all times relevant to this litigation, Scott Sekulich was exposed to the use of

Defendant Monsanto’s Roundup® products in an intended and reasonably foreseeable manner

without knowledge of their dangerous characteristics.

       110.    Scott Sekulich could not have reasonably discovered or perceived the defects and

risks of Roundup® products herein mentioned before or at the time of exposure.

       111.    The harm caused by Defendant Monsanto’s Roundup® products, (i.e. non-

Hodgkin’s lymphoma), far outweighed their benefit, getting rid of weeds, rendering Defendant

Monsanto’s products dangerous to an extent beyond that which an ordinary consumer would

contemplate.

       112.    Defendant Monsanto’s Roundup® products were and are more dangerous

than alternative products and Defendant Monsanto could have designed its Roundup® products to

make them less dangerous. Indeed, at the time that Defendant Monsanto designed its Roundup®

products, the state of the industry’s scientific knowledge was such that a less risky design or

formulation was attainable.

       113.    At the time Roundup® products left Defendant Monsanto’s control, there was a

practical, technically feasible and safer alternative design that would have prevented the harm

without substantially impairing the reasonably anticipated or intended function of Defendant

Monsanto’s herbicides.

       114.    Scott Sekulich developed non-Hodgkin’s lymphoma which caused him inter alia

pain, suffering, disability, disfigurement, and loss of normal life as a result of using Monsanto’s

Roundup® products.




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       115.    The defects in Defendant Monsanto’s Roundup® products were substantial and

contributing factors in causing Scott Sekulich’s grave and permanent injuries, including his non-

Hodgkin’s lymphoma, and, but for Defendant Monsanto’s misconduct and omissions, Scott

Sekulich would not have sustained his injuries.

       116.    Therefore, as a result of the unreasonably dangerous condition of its Roundup®

products, Defendant Monsanto is strictly liable to Scott Sekulich.

       117.    As a direct proximate result of Defendant Monsanto’s wrongful acts and omissions,

Scott Sekulich has suffered and continues to suffer injuries of a personal and pecuniary nature.

       118.    At all times relevant to this litigation, the plaintiff, Kristin Sekulich, was the

lawfully wedded wife of Scott Sekulich.

       119.    As a direct proximate result of Defendant Monsanto’s wrongful acts and omissions,

the plaintiff, Kristin Sekulich, suffered injuries including, but not limited to, loss of consortium.

       WHEREFORE, plaintiff, Kristin Sekulich, asks that a judgment be entered against the

defendant, Monsanto Company, Inc., in a fair and just amount in excess of SEVENTY-FIVE

THOUSAND DOLLARS ($75,000.00) plus costs and any further relief this court deems just.

                                       COUNT III
                         STRICT LIABILITY (FAILURE TO WARN)
                                   (Scott v. Monsanto)
       120.    Plaintiffs incorporates by reference each and every allegation set forth in

paragraphs 1 through 81 as if fully stated herein.

       121.    At all times relevant to this litigation, Defendant Monsanto engaged in the business

of testing, developing, designing, manufacturing, marketing, selling, distributing, promoting and

supplying Roundup® products, which are defective and unreasonably dangerous to consumers,

users, and persons coming into contact with said products, including Scott Sekulich, when used in

the intended or reasonably foreseeable manner, because they do not contain adequate warnings or

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instructions concerning the dangerous characteristics of Roundup® and specifically, the active

ingredient glyphosate. These actions were under the ultimate control and supervision of Defendant

Monsanto.

        122.    Defendant Monsanto researched, developed, designed, tested, manufactured,

inspected, labeled, distributed, marketed, promoted, sold, and otherwise released into the stream

of commerce its Roundup® products, and in the course of same, directly advertised or marketed

the products to the public, including consumers and end-users, and persons responsible for

consumers (such as employers), and therefore had a duty to warn of the risks associated with the

use of Roundup® and glyphosate-based formulations.

        123.    Defendant Monsanto’s Roundup® products were expected to and did reach the

usual consumers, users, handlers, and persons coming into contact with said product, including

Scott Sekulich, without substantial change in the condition which it was designed, manufactured,

sold, distributed, labeled, and marketed by Defendant.

        124.    At all times relevant to this litigation, Defendant Monsanto had a duty to properly

test, develop, design, manufacture, inspect, package, label, market, promote, sell, distribute,

maintain supply, provide proper warnings, and take such steps as necessary to ensure that

Roundup® products did not cause the public, including but not limited to consumers, users, and

persons coming into contact with said products, including Scott Sekulich, to suffer from

unreasonable and dangerous risks. Defendant Monsanto had a continuing duty to warn the public,

including Scott Sekulich, of the dangers associated with Roundup® use and exposure. Defendant

Monsanto, as manufacturer, seller, or distributor of chemical herbicides is held to the knowledge

of an expert in the field.




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       125.    At the time Defendant Monsanto’s Roundup products left its control, it was

unsafe, defective, and unreasonably dangerous for use by or exposure to the public, and, in

particular, Scott Sekulich, when used in their intended or reasonably foreseeable manner because

it has a carcinogenic glyphosate-based formulation.

       126.    At the time of manufacture, Defendant Monsanto could have provided the warnings

or instructions regarding the full and complete risks of Roundup® and glyphosate-based

formulations because they knew or should have known of the unreasonable risks of harm

associated with the use of and/or exposure to such products.

       127.    At all times relevant to this litigation, Defendant Monsanto failed to investigate,

study, test, or promote the safety of Roundup® products. Defendant also failed to minimize the

dangers to users and consumers of this product and to those who would foreseeably use or be

harmed by Roundup, including Scott Sekulich.

       128.    Despite the fact that Defendant Monsanto knew or should have known that

Roundup® posed a grave risk of harm, it failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure. The dangerous propensities of its products and

the carcinogenic characteristics of glyphosate, as described above, were known to Defendant

Monsanto, or scientifically knowable to Defendant Monsanto through appropriate research and

testing by known methods, at the time it distributed, supplied or sold the product, and not known

to end users and consumers, such as Scott Sekulich.

       129.    Defendant Monsanto knew or should have known that these products created

significant risks of serious bodily harm to consumers, as alleged herein, and Defendant Monsanto

failed to adequately warn the public, including but not limited to consumers, users, and persons

coming into contact with said products, of the risks of exposure to its products. Defendant



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Monsanto has wrongfully concealed information concerning the dangerous nature of Roundup®

and its active ingredient glyphosate, and further made false and/or misleading statements

concerning the safety of Roundup® and glyphosate.

       130.    At all times relevant to this litigation, Scott Sekulich was exposed to the use of

Defendant Monsanto’s Roundup® products in their intended or reasonably foreseeable manner

without knowledge of their dangerous characteristics.

       131.    Scott Sekulich could not have reasonably discovered the defects and risks

associated with Roundup® or glyphosate-based formulations prior to or at the time of Scott

Sekulich’s exposure due to this failure to warn. Scott Sekulich relied upon the skill, superior

knowledge, and judgment of Defendant Monsanto.

       132.    Defendant Monsanto knew or should have known that the minimal warnings

disseminated with or accompanying the application of Roundup® products were inadequate, but

they failed to communicate adequate information on the dangers and safe use/exposure and failed

to communicate warnings and instructions that were appropriate and adequate to render the

products safe for their ordinary, intended and reasonably foreseeable uses, including agricultural

and horticultural applications.

       133.    The information that Defendant Monsanto did provide or communicate failed to

contain relevant warnings, hazards, and precautions that would have enabled those exposed, such

as Scott Sekulich, to utilize the products safely and with adequate protection.

       134.    Instead, Defendant Monsanto disseminated information that was inaccurate,

false, and misleading and which failed to communicate accurately or adequately the comparative

severity, duration, and extent of the risk of injuries with use of and/or exposure to Roundup® and

glyphosate; continued to aggressively promote the efficacy of its products, even after it knew or



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should have known of the unreasonable risks from use or exposure; and concealed, downplayed,

or otherwise suppressed, through aggressive marketing and promotion, any information or research

about the risks and dangers of exposure to Roundup® and glyphosate.

       135.    To this day, Defendant Monsanto has failed to adequately and accurately warn

of the true risks associated with the use of and exposure to Roundup® and its active ingredient

glyphosate, a probable carcinogen, including the risk of non-Hodgkin’s lymphoma.

       136.    As a result of their inadequate warnings, Roundup® products were defective and

unreasonably dangerous when they left the possession and/or control of Defendant Monsanto, were

distributed by Defendant Monsanto, and when Scott Sekulich was exposed.

       137.    Scott Sekulich developed non-Hodgkin’s lymphoma which caused him inter alia

pain, suffering, disability, disfigurement, and loss of normal life as a result of using Monsanto’s

Roundup products.

       138.    Defendant Monsanto is liable to Scott Sekulich for injuries caused by its failure, as

described above, to provide adequate warnings or other clinically relevant information and data

regarding the appropriate use of their products and the risks associated with the use of or exposure

to Roundup®, glyphosate and glyphosate-based formulations.

       139.    The defects in these Roundup® products were substantial and contributing factors

in causing Scott Sekulich’s injuries, and, but for Defendant Monsanto’s misconduct and omissions,

Scott Sekulich would not have sustained his injuries.

       140.    Had Defendant Monsanto provided adequate warnings and instructions and

properly disclosed and disseminated the risks associated with Roundup® products and application,

Scott Sekulich could have avoided the risk of developing injuries as alleged herein.




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       141.    As a direct and proximate result of Defendant Monsanto placing its defective

Roundup into the stream of commerce without appropriate warnings as further set forth above,

Scott Sekulich has suffered and continues to suffer pecuniary loss including without limitation

injuries of a personal and pecuniary nature including, but not limited to hospital, medical, and

related expenses; loss of income; disability and disfigurement; loss of normal life; pain and

suffering; risk of susceptibility and future injury and relapse; and physical and emotional trauma.

       WHEREFORE, plaintiff, Scott Sekulich, asks that a judgment be entered against the

defendant, Monsanto Company, Inc., in a fair and just amount in excess of SEVENTY-FIVE

THOUSAND DOLLARS ($75,000.00) plus costs and any further relief this court deems just.

                                  COUNT IV
        STRICT LIABILITY (FAILURE TO WARN) – LOSS OF CONSORTIUM
                             (Kristin v. Monsanto)
       142.    Plaintiffs incorporates by reference each and every allegation set forth in

paragraphs 1 through 81 as if fully stated herein.

       143.    At all times relevant to this litigation, Defendant Monsanto engaged in the business

of testing, developing, designing, manufacturing, marketing, selling, distributing, promoting and

supplying Roundup® products, which are defective and unreasonably dangerous to consumers,

users, and persons coming into contact with said products, including Scott Sekulich, when used in

the intended or reasonably foreseeable manner, because they do not contain adequate warnings or

instructions concerning the dangerous characteristics of Roundup® and specifically, the active

ingredient glyphosate. These actions were under the ultimate control and supervision of Defendant

Monsanto.

       144.    Defendant Monsanto researched, developed, designed, tested, manufactured,

inspected, labeled, distributed, marketed, promoted, sold, and otherwise released into the stream

of commerce its Roundup® products, and in the course of same, directly advertised or marketed

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the products to the public, including consumers and end-users, and persons responsible for

consumers (such as employers), and therefore had a duty to warn of the risks associated with the

use of Roundup® and glyphosate-based formulations.

        145.    Defendant Monsanto’s Roundup® products were expected to and did reach the

usual consumers, users, handlers, and persons coming into contact with said product, including

Scott Sekulich, without substantial change in the condition which it was designed, manufactured,

sold, distributed, labeled, and marketed by Defendant.

        146.    At all times relevant to this litigation, Defendant Monsanto had a duty to properly

test, develop, design, manufacture, inspect, package, label, market, promote, sell, distribute,

maintain supply, provide proper warnings, and take such steps as necessary to ensure that

Roundup® products did not cause the public, including but not limited to consumers, users, and

persons coming into contact with said products, including Scott Sekulich, to suffer from

unreasonable and dangerous risks. Defendant Monsanto had a continuing duty to warn the public,

including Scott Sekulich, of the dangers associated with Roundup® use and exposure. Defendant

Monsanto, as manufacturer, seller, or distributor of chemical herbicides is held to the knowledge

of an expert in the field.

        147.    At the time Defendant Monsanto’s Roundup products left its control, it was

unsafe, defective, and unreasonably dangerous for use by or exposure to the public, and, in

particular, Scott Sekulich, when used in their intended or reasonably foreseeable manner because

it has a carcinogenic glyphosate-based formulation.

        148.    At the time of manufacture, Defendant Monsanto could have provided the warnings

or instructions regarding the full and complete risks of Roundup® and glyphosate-based




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formulations because they knew or should have known of the unreasonable risks of harm

associated with the use of and/or exposure to such products.

       149.    At all times relevant to this litigation, Defendant Monsanto failed to investigate,

study, test, or promote the safety of Roundup® products. Defendant also failed to minimize the

dangers to users and consumers of this product and to those who would foreseeably use or be

harmed by Roundup, including Scott Sekulich.

       150.    Despite the fact that Defendant Monsanto knew or should have known that

Roundup® posed a grave risk of harm, it failed to exercise reasonable care to warn of the

dangerous risks associated with use and exposure. The dangerous propensities of its products and

the carcinogenic characteristics of glyphosate, as described above, were known to Defendant

Monsanto, or scientifically knowable to Defendant Monsanto through appropriate research and

testing by known methods, at the time it distributed, supplied or sold the product, and not known

to end users and consumers, such as Scott Sekulich.

       151.    Defendant Monsanto knew or should have known that these products created

significant risks of serious bodily harm to consumers, as alleged herein, and Defendant Monsanto

failed to adequately warn the public, including but not limited to consumers, users, and persons

coming into contact with said products, of the risks of exposure to its products. Defendant

Monsanto has wrongfully concealed information concerning the dangerous nature of Roundup®

and its active ingredient glyphosate, and further made false and/or misleading statements

concerning the safety of Roundup® and glyphosate.

       152.    At all times relevant to this litigation, Scott Sekulich was exposed to the use of

Defendant Monsanto’s Roundup® products in their intended or reasonably foreseeable manner

without knowledge of their dangerous characteristics.



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       153.    Scott Sekulich could not have reasonably discovered the defects and risks

associated with Roundup® or glyphosate-based formulations prior to or at the time of Scott

Sekulich’s exposure due to this failure to warn. Scott Sekulich relied upon the skill, superior

knowledge, and judgment of Defendant Monsanto.

       154.    Defendant Monsanto knew or should have known that the minimal warnings

disseminated with or accompanying the application of Roundup® products were inadequate, but

they failed to communicate adequate information on the dangers and safe use/exposure and failed

to communicate warnings and instructions that were appropriate and adequate to render the

products safe for their ordinary, intended and reasonably foreseeable uses, including agricultural

and horticultural applications.

       155.    The information that Defendant Monsanto did provide or communicate failed to

contain relevant warnings, hazards, and precautions that would have enabled those exposed, such

as Scott Sekulich, to utilize the products safely and with adequate protection.

       156.    Instead, Defendant Monsanto disseminated information that was inaccurate,

false, and misleading and which failed to communicate accurately or adequately the comparative

severity, duration, and extent of the risk of injuries with use of and/or exposure to Roundup® and

glyphosate; continued to aggressively promote the efficacy of its products, even after it knew or

should have known of the unreasonable risks from use or exposure; and concealed, downplayed,

or otherwise suppressed, through aggressive marketing and promotion, any information or research

about the risks and dangers of exposure to Roundup® and glyphosate.

       157.    To this day, Defendant Monsanto has failed to adequately and accurately warn

of the true risks associated with the use of and exposure to Roundup® and its active ingredient

glyphosate, a probable carcinogen, including the risk of non-Hodgkin’s lymphoma.



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       158.    As a result of their inadequate warnings, Roundup® products were defective and

unreasonably dangerous when they left the possession and/or control of Defendant Monsanto, were

distributed by Defendant Monsanto, and when Scott Sekulich was exposed.

       159.    Scott Sekulich developed non-Hodgkin’s lymphoma which caused him inter alia

pain, suffering, disability, disfigurement, and loss of normal life as a result of using Monsanto’s

Roundup products.

       160.    Defendant Monsanto is liable to Scott Sekulich for injuries caused by its failure, as

described above, to provide adequate warnings or other clinically relevant information and data

regarding the appropriate use of their products and the risks associated with the use of or exposure

to Roundup®, glyphosate and glyphosate-based formulations.

       161.    The defects in these Roundup® products were substantial and contributing factors

in causing Scott Sekulich’s injuries, and, but for Defendant Monsanto’s misconduct and omissions,

Scott Sekulich would not have sustained his injuries.

       162.    Had Defendant Monsanto provided adequate warnings and instructions and

properly disclosed and disseminated the risks associated with Roundup® products and application,

Scott Sekulich could have avoided the risk of developing injuries as alleged herein.

       163.    As a direct and proximate result of Defendant Monsanto placing its defective

Roundup into the stream of commerce without appropriate warnings as further set forth above,

Scott Sekulich has suffered and continues to suffer injuries of a personal and pecuniary nature.

       164.    At all times relevant to this litigation, the plaintiff, Kristin Sekulich, was the

lawfully wedded wife of Scott Sekulich.

       165.    As a direct proximate result of Defendant Monsanto’s wrongful acts and omissions,

the plaintiff, Kristin Sekulich, suffered injuries including, but not limited to, loss of consortium.



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       WHEREFORE, plaintiff, Kristin Sekulich, asks that a judgment be entered against the

defendant, Monsanto Company, Inc., in a fair and just amount in excess of SEVENTY-FIVE

THOUSAND DOLLARS ($75,000.00) plus costs and any further relief this court deems just.

                                           COUNT V
                                         NEGLIGENCE
                                       (Scott v. Monsanto)
       166.    Plaintiffs incorporates by reference each and every allegation set forth in

paragraphs 1 through 81 as if fully stated herein.

       167.    Defendant Monsanto, directly or indirectly, caused Roundup® products to be sold,

distributed, packaged, labeled, marketed, and promoted to the public.

       168.    Defendant Monsanto, directly or indirectly, caused Scott Sekulich to be exposed to

Roundup® products.

       169.    At all times relevant to this litigation, Defendant Monsanto knew or reasonably

should have known of the hazards and dangers of Roundup® products and specifically, the

carcinogenic properties of the chemical glyphosate.

       170.    At all times relevant to this litigation, Defendant Monsanto knew reasonably should

have known that use of and/or exposure to its Roundup® products created a high risk of

unreasonably dangerous side effects, including but not limited to non-Hodgkin’s lymphoma.

       171.    At all times relevant to this litigation, Defendant Monsanto also knew or reasonably

should have known that the public, including users and consumers of Roundup®, were unaware

of the risks and the magnitude of the risks associated with use of and/or exposure to Roundup®

and glyphosate-based formulations.

       172.    At all times relevant to this litigation, Defendant Monsanto had a duty to exercise

reasonable care in the designing, researching, testing, manufacturing, marketing, supplying,

promoting, packaging, sale, and/or distribution of its Roundup® products into the stream of

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commerce, including a duty to assure that the product was safe and would not cause unreasonable

harm to the public, consumers, users, or persons exposed, including Scott Sekulich

       173.   Notwithstanding said duty, the defendant, Monsanto, committed one or more of the

following acts and/or omissions:

           a. Promoted, developed, designed, sold, and/or distributed its Roundup® products
              without thorough and adequate pre-and post-market testing;
           b. Promoted, developed, designed, sold, and/or distributed Roundup® while
              concealing and failing to disclose the results of trials, tests, and studies of exposure
              to glyphosate, and, consequently, the risk of serious harm associated with human
              use of and exposure to Roundup®;
           c. Failed to undertake sufficient studies and conduct necessary tests to determine
              whether or not Roundup® products and glyphosate-based formulations were safe
              for their intended use in agriculture and horticulture;
           d. Failed to use reasonable and prudent care in the design, research, manufacture, and
              development of Roundup® products so as to avoid the risk of serious harm
              associated with the prevalent use of Roundup®/glyphosate as an herbicide;
           e. Failed to design and manufacture Roundup® products so as to ensure they were at
              least as safe and effective as other herbicides on the market;
           f. Failed to provide adequate instructions, guidelines, and safety precautions to those
              persons who Defendant Monsanto could reasonably foresee would use and be
              exposed to its Roundup® products;
           g. Failed to disclose to Scott Sekulich, users/consumers, and the general public that
              use of and exposure to Roundup® presented severe risks of cancer and other grave
              illnesses;
           h. Failed to warn Scott Sekulich, consumers, and the general public that the product’s
              risk of harm was unreasonable and that there were safer and effective alternative
              herbicides available;
           i. Systematically suppressed or downplayed contrary evidence about the risks,
              incidence, and prevalence of the side effects of Roundup® and glyphosate-based
              formulations;
           j. Represented that its Roundup® products were safe for their intended use when, in
              fact, Defendant Monsanto knew or should have known that the products were not
              safe for their intended purpose;
           k. Declined to make or propose any changes to Roundup® products’ labeling or other
              promotional materials that would alert the consumers and the general public of the
              risks of Roundup® and glyphosate;


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           l. Advertised, marketed, and recommended the use of the Roundup® products, while
              concealing and failing to disclose or warn of the dangers known by Defendant
              Monsanto to be associated with or caused by the use of or exposure to Roundup®
              and glyphosate;
           m. Continued to disseminate information to its consumers, which indicate or imply
              that Defendant Monsanto’s Roundup® products are not unsafe for use in the
              agricultural and horticultural industries; and/or
           n. Continued the manufacture and sale of its products with the knowledge that the
              products were unreasonably unsafe and dangerous.
       174.      As a result of one or more of the above acts and/or omissions, Scott Sekulich

developed non-Hodgkin’s lymphoma.

       175.      Defendant Monsanto knew and/or should have known that it was foreseeable that

users and persons exposed, including Scott Sekulich would suffer injuries, including but not

limited to non-Hodgkin’s lymphoma, as a result of Defendant Monsanto’s failure to exercise

ordinary care.

       176.      Scott Sekulich did not know the nature and extent of the injuries that could result

from the intended or reasonably foreseeable use of and/or exposure to Roundup® or its active

ingredient glyphosate.

       177.      Defendant Monsanto’s negligence was the proximate cause of the injuries, harm,

and economic losses that Scott Sekulich suffered and will continue to suffer, as described herein.

       178.      As a direct and proximate result of Defendant Monsanto’s acts and/or omissions,

Scott Sekulich has suffered and continues to suffer pecuniary loss including without limitation

injuries of a personal and pecuniary nature including, but not limited to hospital, medical, and

related expenses; loss of income; disability and disfigurement; loss of normal life; pain and

suffering; risk of susceptibility and future injury and relapse; and physical and emotional trauma.




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       WHEREFORE, plaintiff, Scott Sekulich, asks that a judgment be entered against the

defendant, Monsanto Company, Inc., in a fair and just amount in excess of SEVENTY-FIVE

THOUSAND DOLLARS ($75,000.00) plus costs and any further relief this court deems just.

                                     COUNT VI
                         NEGLIGENCE – LOSS OF CONSORTIUM
                                (Kristin v. Monsanto)
       179.    Plaintiffs incorporates by reference each and every allegation set forth in

paragraphs 1 through 81 as if fully stated herein.

       180.    Defendant Monsanto, directly or indirectly, caused Roundup® products to be sold,

distributed, packaged, labeled, marketed, and promoted to the public.

       181.    Defendant Monsanto, directly or indirectly, caused Scott Sekulich to be exposed to

Roundup® products.

       182.    At all times relevant to this litigation, Defendant Monsanto knew or reasonably

should have known of the hazards and dangers of Roundup® products and specifically, the

carcinogenic properties of the chemical glyphosate.

       183.    At all times relevant to this litigation, Defendant Monsanto knew reasonably should

have known that use of and/or exposure to its Roundup® products created a high risk of

unreasonably dangerous side effects, including but not limited to non-Hodgkin’s lymphoma.

       184.    At all times relevant to this litigation, Defendant Monsanto also knew or reasonably

should have known that the public, including users and consumers of Roundup®, were unaware

of the risks and the magnitude of the risks associated with use of and/or exposure to Roundup®

and glyphosate-based formulations.

       185.    At all times relevant to this litigation, Defendant Monsanto had a duty to exercise

reasonable care in the designing, researching, testing, manufacturing, marketing, supplying,

promoting, packaging, sale, and/or distribution of its Roundup® products into the stream of

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commerce, including a duty to assure that the product was safe and would not cause unreasonable

harm to the public, consumers, users, or persons exposed, including Scott Sekulich

       186.   Notwithstanding said duty, the defendant, Monsanto, committed one or more of the

following acts and/or omissions:

           a. Promoted, developed, designed, sold, and/or distributed its Roundup® products
              without thorough and adequate pre-and post-market testing;
           b. Promoted, developed, designed, sold, and/or distributed Roundup® while
              concealing and failing to disclose the results of trials, tests, and studies of exposure
              to glyphosate, and, consequently, the risk of serious harm associated with human
              use of and exposure to Roundup®;
           c. Failed to undertake sufficient studies and conduct necessary tests to determine
              whether or not Roundup® products and glyphosate-based formulations were safe
              for their intended use in agriculture and horticulture;
           d. Failed to use reasonable and prudent care in the design, research, manufacture, and
              development of Roundup® products so as to avoid the risk of serious harm
              associated with the prevalent use of Roundup®/glyphosate as an herbicide;
           e. Failed to design and manufacture Roundup® products so as to ensure they were at
              least as safe and effective as other herbicides on the market;
           f. Failed to provide adequate instructions, guidelines, and safety precautions to those
              persons who Defendant Monsanto could reasonably foresee would use and be
              exposed to its Roundup® products;
           g. Failed to disclose to Scott Sekulich, users/consumers, and the general public that
              use of and exposure to Roundup® presented severe risks of cancer and other grave
              illnesses;
           h. Failed to warn Scott Sekulich, consumers, and the general public that the product’s
              risk of harm was unreasonable and that there were safer and effective alternative
              herbicides available;
           i. Systematically suppressed or downplayed contrary evidence about the risks,
              incidence, and prevalence of the side effects of Roundup® and glyphosate-based
              formulations;
           j. Represented that its Roundup® products were safe for their intended use when, in
              fact, Defendant Monsanto knew or should have known that the products were not
              safe for their intended purpose;
           k. Declined to make or propose any changes to Roundup® products’ labeling or other
              promotional materials that would alert the consumers and the general public of the
              risks of Roundup® and glyphosate;


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           l. Advertised, marketed, and recommended the use of the Roundup® products, while
              concealing and failing to disclose or warn of the dangers known by Defendant
              Monsanto to be associated with or caused by the use of or exposure to Roundup®
              and glyphosate;
           m. Continued to disseminate information to its consumers, which indicate or imply
              that Defendant Monsanto’s Roundup® products are not unsafe for use in the
              agricultural and horticultural industries; and/or
           n. Continued the manufacture and sale of its products with the knowledge that the
              products were unreasonably unsafe and dangerous.
       187.      As a result of one or more of the above acts and/or omissions, Scott Sekulich

developed non-Hodgkin’s lymphoma.

       188.      Defendant Monsanto knew and/or should have known that it was foreseeable that

users and persons exposed, including Scott Sekulich would suffer injuries, including but not

limited to non-Hodgkin’s lymphoma, as a result of Defendant Monsanto’s failure to exercise

ordinary care.

       189.      Scott Sekulich did not know the nature and extent of the injuries that could result

from the intended or reasonably foreseeable use of and/or exposure to Roundup® or its active

ingredient glyphosate.

       190.      Defendant Monsanto’s negligence was the proximate cause of the injuries, harm,

and economic losses that Scott Sekulich suffered and will continue to suffer, as described herein.

       191.      As a direct and proximate result of Defendant Monsanto’s acts and/or omissions,

Scott Sekulich has suffered and continues to suffer injuries of a personal and pecuniary nature.

       192.      At all times relevant to this litigation, the plaintiff, Kristin Sekulich, was the

lawfully wedded wife of Scott Sekulich.

       193.      As a direct proximate result of Defendant Monsanto’s wrongful acts and omissions,

the plaintiff, Kristin Sekulich, suffered injuries including, but not limited to, loss of consortium.




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       WHEREFORE, plaintiff, Kristin Sekulich, asks that a judgment be entered against the

defendant, Monsanto Company, Inc., in a fair and just amount in excess of SEVENTY-FIVE

THOUSAND DOLLARS ($75,000.00) plus costs and any further relief this court deems just.

                               DEMAND FOR TRIAL BY JURY

       Plaintiffs demands a trial by jury of all issues herein so triable.



                                               Respectfully submitted,



                                               By:     ______________________________
                                                       CHLOE J. SCHULTZ

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